Case 1:19-cv-02519-SAG Document 2 Filed 09/26/19 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

ERIC R. GOODS,

Plaintiff,

v. Civil Action No.: JMC-19-2519
BALTIMORE CITY DEPT. OF
TRANSPORTATION INFORMATION
TECHNOLOGY DIVISION

Defendant.

 

ORDER

The above-captioned Complaint was filed with the full filing fee, and therefore Plaintiff
bears the responsibility for effecting service of process on Defendant. Plaintiff may effectuate
service by presenting summons to the Clerk for signature and seal and then serving a copy of the
summons and Complaint on Defendant. Plaintiff has not provided summons to the Clerk. Pursuant
to Fed. R. Civ. P. 4(c)(2), service of a summons and Complaint may be effected by any person
who is not a party and who is at least 18 years of age. Plaintiff is reminded that under Fed. R. Civ.
P, 4(), the person effecting service of the summons and Complaint must promptly notify the
Court, through an affidavit, that he or she has served Defendant.

Under Fed. R. Civ. P. 4(j), service upon a state, municipal corporation or other state —
created governmental organization subject to suit shall be effected by delivering a copy of the

summons and complaint to its chief executive officer; or by serving the summons and complaint

 

! If Plaintiff does not use a private process server, and instead uses certified mail, restricted delivery, return

receipt requested, to make service, Plaintiff must file with the Clerk the United States Post Office acknowledgment as
proofof service. _
Case 1:19-cv-02519-SAG Document 2 Filed 09/26/19 Page 2 of 2

in the manner prescribed by the law of the state for the service of summons or other like process
upon any such Defendant. Maryland Rule 2-121(a) governs service of process on individuals;
Maryland Rule 2-124(1) governs service on an officer or agency of a local government; Maryland
Rule 2-124(j) governs service of process on the State of Maryland; and Maryland Rule 2-124(k)
governs service of process on an officer or agency of the State of Maryland. Both LexisNexis and
Westlaw provide free public access to the Maryland Rules.

If there is no record that service was effectuated on Defendant, Plaintiff risks dismissal of
this case. Pursuant to Fed. R. Civ. P. 4(m) and Local Rule 103.8.a., if a party demanding
affirmative relief has not effectuated service of process within 90 days of filing the Complaint, the
Court may enter an order asking the party to show cause why the claims should not be dismissed.
If the party fails to show cause within the time as set by the Court, the Complaint shall be dismissed
without prejudice.

Accordingly, it is this___ day of September, 2019, by the United States District Court for
the District of Maryland, hereby ORDERED that:

1. Plaintiff SHALL SUBMIT completed summons to the Clerk and the Clerk SHALL
issue summons and return summons to Plaintiff. If service copies of the Complaint

were provided, the Clerk SHALL RETURN them to the Plaintiff; and

2. The Clerk SHALL SEND a copy of iif laintiff.
/ i

J. Mak Coulson
United States Magistrate Judge
